                       UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:22-cv-00347-TJH-DCK

INTEGRIS COMPOSITES, INC.,                        )
                                                  )
                 Plaintiff,                       )
                                                  )
v.                                                )
                                                  )
BARRDAY CORP.,                                    )              ORDER
                                                  )
                 Defendant.                       )
                                                  )
                                                  )
                                                  )

           THIS MATTER is before the Court on defendant Barrday Corp.’s Motion to

Dismiss the Amended Complaint (ECF 33), the magistrate judge’s Memorandum and

Recommendation (“M&R”) (ECF 42), plaintiff Integris Composites’ Objection to the

M&R (ECF 45), and other documents of record. For the reasons explained below, the

M&R is ADOPTED and the Motion to Dismiss is GRANTED.

     I.       BACKGROUND

           Neither party has objected to the magistrate judge’s statement of the factual

and procedural background of this case. Therefore, the Court adopts the facts as set

forth in the M&R. See Orpiano v. Johnson, 687 F.2d 44, 47 (4th Cir. 1982) (“[W]hen

objections to strictly legal issues are raised and no factual issues are challenged, de

novo review of the record may be dispensed with.”).

     II.      LEGAL STANDARDS

           A district court may assign dispositive pretrial matters, including motions to


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dismiss, to a magistrate judge for “proposed findings of fact and recommendations.”

28 U.S.C. § 636(b)(1). The Federal Magistrate Act provides that a district court “shall

make a de novo determination of those portions of the report or specified proposed

findings or recommendations to which objection is made.” § 636(b)(1)(C); see Fed. R.

Civ. P. 72(b)(3).

       Barrday moves to dismiss the amended complaint for lack of personal

jurisdiction under Federal Rule of Civil Procedure 12(b)(2) and for failure to state a

claim under Rule 12(b)(6), as well as for an order requiring a more definite statement

under Rule 12(e). Where a court considers a motion to dismiss for lack of personal

jurisdiction “on the basis only of motion papers, supporting legal memoranda and the

relevant allegations of a complaint,” the question is whether the plaintiff has “ma[d]e

a prima facie showing of a sufficient jurisdictional basis in order to survive the

jurisdictional challenge.” Combs v. Bakker, 886 F.2d 673, 676 (4th Cir. 1989).

Similarly, under Rule 12(b)(6), the question is whether the complaint contains

sufficient allegations “to state a claim to relief that is plausible on its face.” Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007).

   III.   DISCUSSION

       The M&R recommends granting Barrday’s motion to dismiss for lack of

personal jurisdiction. Under Rule 72(b)(3), the district court “must determine de novo

any part of the magistrate judge’s disposition that has been properly objected to.”

Integris objects to the magistrate judge’s recommendation on the grounds that the

Court does—in fact—have personal jurisdiction over Barrday.



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      There may have been an argument Barrday “waived” any personal jurisdiction

defense by not including it in its motion to dismiss the initial complaint. See Fed. R.

Civ. P. 12(h)(1); Nichols v. Vilsack, 183 F. Supp. 3d 39, 41 (D.D.C. 2016). But any such

argument has itself been “doubly forfeited.” United States v. Gallagher, 90 F.4th 182,

189 n.1 (4th Cir. 2024). Integris’ opposition to Barrday’s motion to dismiss argued

that the motion should be denied on the merits, not that the magistrate judge or the

Court should decline to consider the argument because it has been waived. Integris

also did not make a waiver argument in its objections to the M&R. True, a footnote

in the procedural history section notes that Barrday did not “raise the question of

personal jurisdiction until after [a] previous Memorandum and Recommendation”

issued in connection with Integris’ original complaint and argues that this suggests

the defense lacks merit. ECF 45 at 6 n.2. But, here too, Integris’ objections never

argue that the magistrate judge erred in considering Barrday’s personal jurisdiction

defense in the first place because that defense has been waived. Matters may be

different if Integris were pro se. See Folse v. Hoffman, 122 F.4th 80, 84 (4th Cir. 2024)

(“Trial courts are encouraged to liberally treat procedural errors made by pro se

litigants.” (alterations and quotation marks removed)). But Integris has been

represented by counsel throughout this litigation, and it is not the Court’s role to

make represented parties’ arguments for them. See Dhruva v. CuriosityStream, Inc.,

131 F.4th 146, 155 n.2 (4th Cir. 2025).

      Having conducted a full, thorough, and independent review of the M&R and

record, the Court concludes that the magistrate judge correctly concluded that the



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Court lacks personal jurisdiction over Barrday. Integris’ objections are thus

overruled.

   IV.        CONCLUSION

         IT IS THEREFORE ORDERED that:

         1.    The magistrate judge’s M&R (ECF 42) is ADOPTED;

         2.    Defendant’s Motion to Dismiss the Amended Complaint (ECF 33) is

               GRANTED; and

         3.    This action is DISMISSED without prejudice and the clerk is directed

               to close the case.

Signed: June 6, 2025




Toby Heytens
United States Court of Appeals Judge, sitting by designation 1




         1 This designation was made by Chief Judge Diaz on February 12, 2025, under

his authority to “designate and assign temporarily any circuit judge within the circuit
. . . to hold a district court in any district within the circuit.” 28 U.S.C. § 291(b).

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